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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                          FORT MYERS DIVISION

UNITED STATES OF AMERICA

vs.                                                 2:01-cr-32-FtM-29DNF

EZEQUIEL VELEZ

_____________________________


                                  ORDER

      This matter comes before the Court on defendant’s Pro-se

Omnibus Motion (1) For Waiver of Fees to Receive Sertain [sic]

Transcripts (2) For Appointment of Counsel (Doc. #131) filed on

October 19, 2010.    Defendant seeks copies of transcripts from his

plea and sentencing, as well as for the appointment of counsel.

Defendant states that his English is poor and the appointment of

counsel would provide assistance.         Defendant states that he may

file a Motion under 28 U.S.C. § 2255 or 28 U.S.C. § 2241.

      The Judgment (Doc. #81) was entered on December 3, 2001, no

direct appeal was filed, and no habeas petition under 28 U.S.C. §

2255 has been filed.    The Court does not question that defendant is

likely indigent, however nothing is currently pending and the Court

is not inclined to appoint counsel for the purpose of determining

whether a motion should be filed.       For the same reason, the Court

will not provide transcripts at no cost until it is determined that

they are required.     It is well settled that “a federal prisoner is

not entitled to obtain copies of court records at the government’s

expense to search for possible defects merely because he is an
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indigent.” United States v. Herrera, 474 F.2d 1049, 1049 (5th Cir.

1973)(collecting cases).1       Additionally, defendant is not entitled

to   access   to    Court   records   “for   the   purpose   of   preparing   a

collateral attack on a conviction,” Hansen v. United States, 956

F.2d 245, 248 (11th Cir. 1992)(emphasis added), or to transcripts,

28 U.S.C. § 753(f).

      Defendant states that his plea provided that his federal

sentence would run concurrent to his state sentence, however the

Bureau of Prisons has informed him that his sentences are to run

consecutively.      As a result, defendant wishes to withdraw his plea

of guilty or otherwise obtain a copy of the transcripts to resolve

the issue.     Rule 36 of the Federal Rules of Criminal Procedure

allows a district court “at any time” to “correct a clerical error

in a judgment, order, or other part of the record, or correct an

error in the record arising from oversight or omission.”              Fed. R.

Crim. P. 36.       The agreement regarding concurrent sentences in the

Plea Agreement (Doc. #43, p. 2) was deleted and initialed by

defendant.    Also, the Judgment in a Criminal Case clearly states:

           The defendant is hereby committed to the custody of
      the United States Bureau of Prisons to be imprisoned for
      a total term of 110 as to each count of conviction, such
      terms to be served concurrently with each other and
      consecutive to the sentences imposed in the Superior



      1
      In Bonner v. City of Prichard, 661 F.2d 1206, 1209 (11th Cir.
1981) (en banc) the Eleventh Circuit adopted as binding precedent
all the decisions of the former Fifth Circuit handed down prior to
the close of business on September 30, 1981.
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     Court of Ponce, Puerto Rico, in Case Nos. JPD1993G0763,
     JSC1993G0050, JSC1994G0340, and JSC1994G0341.

          The Court has no objection to the sentence being
     served in a federal facility in Puerto Rico, if
     available.

          The defendant is remanded to the custody of the
     United States Marshal.

(Doc. #81, p. 2)(emphasis added).         The Court does not find the

presence of an error requiring correction at this time, however, a

copy of both these documents will be provided to defendant for his

own edification.

     Accordingly, it is now

     ORDERED:

     1.   Defendant’s Pro-se Omnibus Motion (1) For Waiver of Fees

to Receive Sertain [sic] Transcripts (2) For Appointment of Counsel

(Doc. #131) is DENIED as to all relief.

     2.   The Clerk shall provide defendant a copy of his Plea

Agreement (Doc. #43) and Judgment in a Criminal Case (Doc. #81).

     DONE AND ORDERED at Fort Myers, Florida, this           5th    day of

November, 2010.




Copies:
AUSA
Ezequiel Velez


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